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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :         1:21-CR-618-ABJ
                                          :
             v.                           :
                                          :
RILEY JUNE WILLIAMS                       :



       MOTION TO DISMISS COUNT TWO OF THE INDICTMENT
            FOR FAILURE TO STATE AN OFFENSE AND
          MEMORANDUM OF LAW IN SUPPORT THEREOF

      Defendant Riley June Williams moves to dismiss Count Two of the

Indictment and, in support of the motion, sets forth the following facts and

argument.

I.    INTRODUCTION

      Count Two of the Indictment charges Ms. Williams with a violation of 18

U.S.C. § 1512(c)(2), as follows:

      On or about January 6, 2021, within the District of Columbia and
      elsewhere, Riley June Williams, attempted to, and did, corruptly
      obstruct, influence, and impede an official proceeding, that is, a
      proceeding before Congress, specifically, Congress’s certification of
      the Electoral College vote as set out in the Twelfth Amendment of the
      Constitution of the United States and 3 U.S.C. §§ 15-18

Section 1512(c) falls under Chapter 73 of Title 18, which deals with “Obstruction

of Justice.” See generally, 18 U.S.C. §§ 1501-1521. As the Ninth Circuit has

carefully considered and recognized, based on the plain language of the statute, an


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offense under §1512(c) does not prohibit the obstruction of every governmental

function; it only prohibits the obstruction of proceedings such as a hearing that

takes place before a tribunal. See United States v. Ermoian, 752 F.3d 1165, 1179

(9th Cir. 2013). Stated differently, Section 1512(c), by its plain language, does not

criminalize the obstruction of legislative action by Congress. Any alleged

obstruction of the certification of the Electoral College vote is simply outside the

scope of §1512(c).

      Alternatively, on its face §1512 is constitutionally infirm because of its

inherent vagueness and arbitrary enforcement in the panoply of January 6th cases.

II.   DISCUSSION

      A.     Standard of Review

      An indictment must be a “plain, concise, and definite written statement of

the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). An

indictment “must provide the defendant sufficient detail to allow him to prepare a

defense, to defend against a subsequent prosecution of the same offense, and to

ensure that he be prosecuted upon facts presented to the grand jury.” United States

v. Apodaca, 275 F. Supp. 3d 123, 153 (D.D.C. 2017) (citing Russell v. United

States, 369 U.S. 749 (1962), and Stirone v. United States, 361 U.S. 212 (1960)). A

defendant “may raise by pretrial motion any defense, objection, or request that the

Court can determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(3)(B).



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Rule 12 provides that a defendant may also move to dismiss the indictment for

“failure to state an offense” and “lack of specificity.” Fed. R. Crim. P.

12(b)(3)(B)(iii), (v). In considering a Rule 12 motion to dismiss, “the Court is

bound to accept the facts stated in the indictment as true.” United States v. Syring,

522 F. Supp. 2d 125, 128 (D.D.C. 2007); United States v. Sampson, 371 U.S. 75,

78 (1962). Accordingly, “the Court cannot consider facts beyond the four corners

of the indictment.” United States v. Ring, 628 F. Supp. 2d 195, 204 (D.D.C.

2009)(internal quotations omitted).

      A criminal statute is unconstitutionally vague if it “fails to give ordinary

people fair notice of the conduct it punishes, or [is] so standardless that it invites

arbitrary enforcement.” United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir.

2017) (quoting Johnson v. United States, 576 U.S. 591, 595 (2015)). “The

touchstone is whether the statute, either standing alone or as construed, made it

reasonably clear at the relevant time that the defendant’s conduct was criminal.”

United States v. Lanier, 520 U.S. 259 (1997). The void-for-vagueness doctrine

protects against arbitrary or discriminatory law enforcement. Sessions v. Dimaya,

138 S. Ct. 1204, 1212 (2018) (citing Kolender v. Lawson, 461 U.S. 352, 358

(1983)).




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      B.      Count Two Fails to State an Offense

      As noted above, Count Two of the Indictment charges that Ms. Williams

obstructed an “official proceeding,” in violation of 18 U.S.C. § 1512(c)(2) and it

identifies that “proceeding” as “Congress’s certification of the Electoral College

vote.” However, as set forth below, the Electoral College certification before

Congress does not constitute an “official proceeding” for purposes of 18 U.S.C. §

1512(c)(2).

              1.    Section 1512 Must be Strictly Construed

      18 U.S.C. § 1512 prohibits “corruptly. . . obstruct[ing], influenc[ing], or

imped[ing] any official proceeding, or attempt[ing] to do so.” Id. (emphasis

added). Section 1515(a)(1) of Chapter 73 of Title 18 defines an official proceeding

as:

      (A) a proceeding before a judge or court of the United States, a
      United States magistrate judge, a bankruptcy judge, a judge of the
      United States Tax Court, a special trial judge of the Tax Court, a
      judge of the United States Court of Federal Claims, or a Federal grand
      jury;

      (B)     a proceeding before the Congress;

      (C) a proceeding before a Federal Government agency which is
      authorized by law; or

      (D) a proceeding involving the business of insurance whose
      activities affect interstate commerce before any insurance regulatory
      official or agency or any agen tor examiner appointed by such official
      or agency to examine the affairs of any person engaged in the business
      of insurance whose activities affect interstate commerce[.]

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18 U.S.C. § 1515(a)(1). Count 2 of the Indictment against Ms. Williams concerns

“a proceeding before the Congress” as set forth in §1515(a)(1)(B).

       To determine the legislative intent of a law, courts “always, [ ] begin with

the text of the statute.” Am. Fed’n of Gov’t Emps., AFL-CIO, Local 3669 v.

Shinseki, 709 F.3d 29, 33 (D.C. Cir. 2013). “It is elementary that the meaning of a

statute must, in the first instance, be sought in the language in which the act is

framed, and if that is plain . . . the sole function of the courts is to enforce it

according to its terms.” United States v. Hite, 769 F.3d 1154, 1160 (D.C. Cir.

2014) (quoting Caminetti v. United States, 242 U.S. 470, 485 (1917) (internal

quotes omitted)). “The search for the meaning of the statute must also include an

examination of the statute’s context and history.” Hite, 769 F.3d at 1160 (citing

Bailey v. United States, 516 U.S. 137, 144-45 (1995)). Importantly, “due process

bars courts from applying a novel construction of a criminal statute to conduct that

neither the statute nor any prior judicial decision has fairly disclosed to be within

its scope.” United States v. Lanier, 520 U.S. 259, 266 (1997).

       With respect to 18 U.S.C. § 1512, the Supreme Court has instructed lower

courts to “exercise[] restraint in assessing the reach of [the] . . . statute both out of

deference to the prerogatives of Congress . . . and out of concern that a fair

warning should be given to the world in language that the common world will

understand, of what the law intends to do if a certain line is passed.” United States



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v. Arthur Anderson, LLP, 544 U.S. 696, 703 (2005) (internal citations and

quotations omitted) (strictly construing §1512(b)(2)’s broadly worded language in

finding that jury instructions failed to instruct that knowledge of wrongdoing and

proof of a nexus between the alleged obstruction and an official proceeding were

required elements of the offense).

               2.      An “Official Proceeding” under §1512(c) Concerns the
                       Administration of Justice

       A review of the text, history, and judicial interpretations of §1512, especially

in light of the Supreme Court’s long-standing guidance to strictly construe penal

statutes, demonstrates that §1512(c), which punishes obstruction of “official

proceedings,” does not apply to the Electoral College certification.1

       Ermoian was one of the first appellate decisions to consider the meaning of

“official proceeding” as that term is used in §1512(c) and defined in §1515. See

Ermoian, 752 F.3d at 1168 (“Our circuit has never before addressed the meaning

of the term ‘official proceeding’ as used in the obstruction of justice statute at 18

U.S.C. § 1512”). The Ermoian court, tasked with deciding whether a criminal



1
  Congress counts the electoral votes pursuant to the Twelfth Amendment to the United States
Constitution and the Electoral Count Act of 1887, later codified in 3 U.S.C. § 15. Congress
counts the electoral votes after the states have already heard any disputes and certified the vote.
See Bush v. Gore, 531 U.S. 98, 154 (2000) (Breyer, J., dissenting). Members of Congress may
make an objection, in writing, and without argument. 3 U.S.C. § 15. According to the statute,
there is no testimony, no witnesses, no argument, and no evidence introduced at the electoral
count. The event is merely ceremonial. See Stephen A. Siegel, The Conscientious
Congressman’s Guide to the Electoral Count Act of 1887, 56 FLLR 541, 585 (2004).


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investigation by the FBI was considered an “official proceeding” for purposes of

§1512(c), noted that “the definition of the phrase ‘official proceeding’ depends

heavily on the meaning of the word ‘proceeding.’” Id. at 1169.

      Reviewing the plain language of §1515, the Ermoian court explained that

“[s]everal aspects of the definition for ‘official proceeding’ suggest that the legal –

rather than lay – understanding of the term ‘proceeding’ is implicated in the

statute.” Id. at 1170. The court noted that “the descriptor ‘official’ indicates a

sense of formality normally associated with legal proceedings,” and not “a mere

‘action or series of actions.’” Id. (citing “Proceeding,” Oxford English Dictionary,

available at http://www.oed.com). Moreover, the court pointed to the fact that

“the word ‘proceeding’ is surrounded with other words that contemplate a legal

usage of the term, including ‘judge or court,’ ‘Federal grand jury,’ ‘Congress,’ and

‘Federal Government agency.’” Id.

      The Ninth Circuit further observed that

      Examining the term ‘proceeding’ within the grammatical structure of
      the definition at issue, it becomes clear that the term connotes some
      type of formal hearing. [Section 1515(a)(1)(C)] refers to proceedings
      “before a Federal Government agency” – a choice of phrase that
      would be odd if it were referring to criminal investigations. The use
      of the preposition “before” suggests an appearance in front of the
      agency sitting as a tribunal.

Id. at 1170-71 (internal citation omitted)(emphasis added); see also United States

v. Ramos, 537 F.3d 439, 462-63 (5th Cir. 2008)(“use [of] the preposition ‘before’


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in connection with the term ‘Federal Government agency’ . . . implies that an

‘official proceeding involves some formal convocation of the agency in which

parties are directed to appear.”). The court also considered that §1512 uses the

terms “attendance, “testimony,” “production” and “summon[]” when describing an

official proceeding, and found the use of these terms “strongly implie[d] that some

formal hearing before a tribunal is contemplated.” Id. at 1172.

       The logic and reasoning used by the Ermoian court in considering whether

an FBI investigation fell under the scope of §1512(c) applies with equal force to

interpreting the term “proceedings before the Congress.” Taking §1512 and the

definitions contained in §1515 as a whole, it is plain that the statute is directed at

conduct that interferes with the administration of justice. 2 Even the title of the

statute, “Tampering with a witness, victim, or an informant,” suggests an

adversarial proceeding related to the administration of justice. 3 There is little



2
  See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1039 (11th Cir. 2000)(“Section 1512
. . . applies to attempts to prevent or influence testimony not only in federal courts but also before
Congress, federal agencies, and insurance regulators.”)(emphasis added); United States v. Dunn,
434 F. Supp. 2d 1203, 1207 (MD. Ga. 2006)(“ . . . § 1515(a)(1) . . . describe[s] events that are
best thought of as hearings (or something akin to hearings): for example, federal court cases,
grand jury testimony, Congressional testimony, and insurance regulatory hearings.”)(emphasis
added); United States v. Georgia, 2014 WL 2084891 (N.D. Georgia 2014) (“official proceeding”
for purposes of §1512(c) did not include a FBI investigation); United States v. Sutherland, 921
F.3d 421 (4th Cir. 2019) (the term “proceeding” implies ‘some formal convocation . . . in which
parties are directed to appear”) (quoting United States v. Young, 916 F.3d 368, 384 (4th Cir.
2019)).
3
  See I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S. 183, 189 (1991)(“[T]he title of a
statute or section can aid in resolving an ambiguity in the legislation’s text.”).



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doubt that §1512 only criminalizes obstructive conduct related to a hearing before

a tribunal affecting the administrative of justice and the ceremonial certification of

the Electoral College votes does not qualify as an “official proceeding” under the

statute.4

                3.     The Legislative History Demonstrates that §1512(c)
                       Concerns the Administration of Justice

       Section 1512(c)(2) was enacted as part of the Sarbanes-Oxley Act of 2002,

which was titled “Corporate Fraud Accountability,” and had the express purpose of

targeting “corporate malfeasance.” Pub. L. No. 107-204, 116 Stat. 745. Nothing

in the legislative history of the Sarbanes-Oxley Act supports the notion that

Congress enacted §1512(c)(2) to criminalize the disruption of a ceremony before

Congress by persons engaged in a political rally, no matter how large the crowd or

how disorderly the activities of some in the crowd may have become. Rather, the

Sarbanes-Oxley Act “was prompted by the exposure of Enron’s massive

accounting fraud and revelations that the company’s outside auditor, Arthur

Andersen LLP, had systematically destroyed potentially incriminating documents.”


4
  This interpretation is consistent with the case law that has clarified the meaning of the statutory
language at issue here. See e.g. Arthur Anderson, LLP, 544 U.S. at 708 (interpreting §1512(c)
as requiring that the defendant have “knowledge that his actions are likely to affect [a]judicial
proceeding” in order to have the “requisite intent to obstruct’); United States v. Burge, 711 F.3d
803, 809 (7th Cir. 2013)(considering the application of §1512 and noting that “[o]bstruction of
justice occurs when a defendant acts to impede the types of proceedings that take place before
judges or grand juries.”) cert. denied, 571 U.S. 888 (2014); United States v. Sampson, 898 F.3d
287, 300 (2d Cir. 2018)(noting that §1512 “broadly criminalizes various forms of witness
tampering”).


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Yates v. United States, 574 U.S. 528, 535-36 (2015). The Senate Judiciary

Committee report described the Act’s purpose as “provid[ing] for criminal

prosecution and enhanced penalties of persons who defraud investors in publicly

traded securities or alter or destroy evidence in certain Federal investigations,” S.

REP. NO. 107-146, at 2 (2002)(emphasis added).

      In Yates, the Supreme Court narrowly construed the term “tangible object”

as set forth in 18 U.S.C. § 1519, which penalized a person who

      knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
      makes a false entry in any record, document, or tangible object with
      the intent to impede, obstruct, or influence the investigation or proper
      administration of any matter within the jurisdiction of any department
      or agency of the United States . . .

18 U.S.C. § 1519. Keeping in mind that Congress designed the Sarbanes-Oxley

Act with a “trained [] attention on corporate and accounting deception and cover-

ups,” the Court held that the Act did not contemplate penalizing the act of tossing

undersized fish overboard to avoid the consequences of an inspection by federal

authorities. Id. at 532. Rather, in the context of the statute’s purpose, a “tangible

object” must be one used to record or preserve information. Id. Thus, while fish are

tangible objects in the lay sense of that phrase, they do not qualify as tangible

objects under §1519 given the broader context of the Sarbanes-Oxley Act. In

rendering the Yates decision, the Supreme Court clearly telegraphed that legal




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terms are to be narrowly construed given the legislative history and purpose of the

Sarbanes-Oxley Act.

       In short, when considering the Act’s preamble and legislative history, it is

clear that §1512(c) was aimed at preventing corporations from destroying records

relevant to a federal hearing related to the administration of justice. The legislative

background of §1512(c) makes plain that it was not intended to apply in all

circumstances where any government function may have been impeded, and given

this context, the certification of the Electoral College votes does not qualify as an

“official proceeding” under the statute.

              4.      Other Tools of Statutory Interpretation Support Ms.
                      Williams’ Motion to Dismiss

       Sections 1512 and 1515 are contained in Chapter 73 of Title 18 of the

United States Code. Examining the surrounding statutory provisions in Chapter 73

further supports Ms. Williams’ interpretation of the statute at issue. 5 Several of the

subsections of Chapter 73 explicitly relate to the administration of justice. See 18

U.S.C. §§ 1503, 1504 (Influencing or injuring a juror); §1513 (Retaliating against a

witness, victim or informant); § 1521 (Retaliating against a federal judge or law

enforcement officer by false claim or slander of title). There is even a statute

5
  See NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C. Cir.
2020)(quoting Util. Air Regulatory Grp. V. E.P.A., 573 U.S. 302, 321 (2014))(“A statutory
provision that may seem ambiguous in isolation is often clarified by the remainder of the
statutory scheme[,] because only one of the permissible meanings produces a substantive effect
that is compatible with the rest of the law.”).


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within Chapter 73 that prohibits “picketing or parading” near the residence of a

judge, juror, witness, or court officer “with the intent of interfering with,

obstructing, or impeding the administration of justice.” 18 U.S.C. § 1507

(emphasis added). All of these laws are related to the obstruction of the

administration of justice. Section 1512(c) falls right within their midst.

                 5.     Congress Has Used Other Terms to Describe Interference
                        with Electoral College Certification

         Ms. Williams submits that the government incorrectly conflated an “official

proceeding” under §1512 with a “federally protected function” under 18 U.S.C. §

231(a)(3) or the “official business” of Congress under 40 U.S.C. § 5104(e)(2)(c).

In Count One of the Indictment, for example, the government charged Ms.

Williams with Civil Disorder under 18 U.S.C. § 231(a)(3), alleging that her actions

“affected the conduct and performance of a federally protected function.” 6 (Doc.

27, p. 2)(emphasis added). Similarly, in Counts Seven and Eight, the government

charged Ms. Williams with violation 40 U.S.C. § 5104(e), which prohibits entering

“any of the Capitol Building[s]” intending “to disrupt the orderly conduct of



6
    The term “federally protected function” is defined as:

         [A]ny function, operation or action carried out, under the laws of the United
         States, by any department, agency, or instrumentality of the United States or by an
         officer or employee thereof; and such term shall specifically include, but not be
         limited to, the collection and distribution of the United States mails.

18 U.S.C. § 232(3).


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official business[.]” 40 U.S.C. § 5104(e)(2)(c) (emphasis added). Ms. Williams

submits that the ceremonial certification of the Electoral College by Congress may

be more appropriately considered the “official business” of Congress or a

“federally protected function” rather than an “official proceeding before the

Congress” as captured by 18 U.S.C. §§ 1512(c) and 1515. Charging Ms. Williams

with obstruction under 18 U.S.C. § 1512(c)(2) is, quite simply, overkill.

      C.     Alternatively, Section 1512(c)(2) is Unconstitutionally Vague

      Under the same principles of United States v. Johnson, 576 U.S. 591 (2015)

and its progeny, 18 U.S.C. § 1512(c)(2) violates due process because it is vague

and does not provide fair notice to Ms. Williams as to the conduct it punishes.

Section 1512(c)(2) provides that:

      Whoever corruptly –

             (1)   alters, destroys, mutilates, or conceals a record,
                   document, or other object, or attempts to do so, with the
                   intent to impair the object’s integrity or availability for
                   use in an official proceeding; or

             (2)   Otherwise obstructs, influences, or impedes any official
                   proceeding, or attempts to do so, . . . shall be fined . . . or
                   imprisoned . . .

18 U.S.C. §§ 1512(c)(1) and (2).

      First, §1512(c) uses words throughout both subsections that require

courts to speculate as to their meaning in the context of the defendant’s

particular actions. To wit, courts must speculate as to the meaning of the

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word “corruptly” and the phrase “official proceeding.” Perhaps more

problematic is the residual clause of subsection (c)(2), one that is so

ambiguous, requiring courts to line-draw when determining if a defendant

has “otherwise” obstructed, impeded, or influenced an official proceeding

before Congress.

      In Johnson, the Supreme Court considered the constitutionality of

residual clause of the Armed Career Criminal Act, which enhanced a

defendant’s sentence if the defendant had a conviction for a prior felony that

“otherwise involved conduct that presented a serious potential risk of

physical injury to another.” Johnson, 576 U.S. at 591. In finding a due

process violation, the Supreme Court explained that the residual clause

required a “wide-ranging inquiry” in each case as to what could potentially

cause injury in each set of circumstances. Johnson, 576 U.S. at 597.

Observing that the ambiguity of the residual clause resulted in disparate

interpretations, the Supreme Court acknowledged that the “failure of

persistent efforts to establish a standard can provide evidence of vagueness.”

Id. at 598.

      Similarly here, the residual clause of §1512(c) is constitutionally

vague, requiring courts to speculate and line-draw when distinguishing

“official proceedings” from mere ancillary proceedings or investigations.



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As discussed at length above, courts have generally interpreted “official

proceeding” to mean something more formal than an investigation, but there

has been no established standard, leaving the courts to deal with this

ambiguity.

      Further, the vagueness of the statute is not limited to the confusion

that surrounds what constitutes an “official proceeding.” The D.C. Circuit

has acknowledged that the word “corruptly” is vague on its face as used in a

similar statute, 18 U.S.C. § 1505, that prohibits obstruction of a proceeding

before departments, agencies, or congressional investigations. The court

held that “in the absence of some narrowing gloss, people must guess at its

meaning and application.” United States v. Poindexter, 951 F.2d 369, 398

(D.C. Cir. 1991). Previously, in Ricks v. District of Columbia, 414 F.2d

1097 (D.C. Cir. 1968), the court had held that a statute that criminalized

“leading an immoral or profligate life” vague because it found “immoral” to

be synonymous with “corrupt, depraved, indecent, dissolute, all of which

would result in ‘an almost boundless area for the individual assessment of

another’s behavior.’” Poindexter, 951 F.2d at 399 (quoting Ricks, 414 F.2d

at 1097). The court explained that various dictionary definitions of the word

“corrupt” did not reduce the confusion as to its meaning for purposes of the

statute. Id. After an assessment of the legislative history and judicial



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interpretation, the court concluded that neither of those inquiries provided

defendants with the constitutionally required notice that the statute requires,

and found the term vague as applied to the defendant making false

statements. Id. at 406.

      Following Poindexter, Congress amended §1515 to define “corruptly”

for purposes of §1505 only to mean “acting with an improper purpose,

personally or by influencing another, including making a false or misleading

statement, or withholding, concealing, altering, or destroying a document or

other information.” §1515(b). However, this amendment did not resolve the

vagueness that still exists in §1512 as Congress did not amend §1515 as it

applies to §1512.

      Even though the D.C. Circuit later held that the word “corruptly” was

not vague as applied, it was because in that case the defendant influenced a

witness, which fits squarely within the non-vague category that Poindexter

established. See United States v. Morrison, 98 F.3d 619, 630 (D.C. Cir.

1996). In Morrison, the defendant tried to influence a witness’s testimony

and “exhorted her to violate her legal duty to testify truthfully in court.” Id.

The Poindexter Court explained that influencing another to “violate their

legal duty” was not vague because “it would both take account of the context

in which the term ‘corruptly’ appears and avoid the vagueness inherent in



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words like ‘immorally.’” Poindexter, 951 F.2d at 379. However, Morrison

was not faced with the question of what “corruptly” means in the context of

§1512(c) and does not resolve the ambiguity that the word presents in

conjunction with the rest of the statute. Even taking “corruptly influences”

together is still vague because “influence” alone is another vague word and

means something different than “influencing another to violate their legal

duty” as described in §1515.

         Further, analyzing the government’s approach to charging defendants

with a violation of §1512(c)(2) arising out of events on January 6, 2021,

illustrates how vague and arbitrary the enforcement of this statute can be.

Initially, it seemed that the government was only charging those individuals

who had entered the Senate chamber7 with a §1512(c)(2) violation.

However, a snapshot of some of defendants that have been charged with a

violation of §1512(c)(2) brings the inconsistencies into stark relief.

         (1)     United States v. Isaac Sturgeon, 21-cr-91, Mr. Sturgeon is

alleged to have assisted in pushing a barricade outside the Capitol building

but never entered the Senate chamber, never went inside the Capitol

building, and never made any threats to law enforcement or on social media




7
    The ceremonial Electoral College certification took place in the Senate Chamber.


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suggesting he wished to disrupt the vote. Mr. Sturgeon is not alleged to be

part of the Oath Keepers or the Proud Boys.

      (2)    United States v. Kenneth Grayson, 21-cr-224, Mr. Grayson is

alleged to have entered the Capitol building, but not alleged to have entered

the Senate chamber. Prior to January 6, 2021, he allegedly wrote in a private

message, “I am there for the greatest celebration of all time after Pence leads

the Senate flip! OR IM THERE IF TRUMP TELLS US TO STORM THE

FUKIN CAPITOL IME DO THAT THEN!”

      (3)    United States v. Benjamin Larocca, 21-cr-317, Mr. Larocca

allegedly entered the Capitol building while screaming “Our House!” He

was with an individual who was allegedly yelling, “You fucking oath

breakers!” Mr. Larocca is not alleged to have entered the Senate floor and is

not a member of the Proud Boys or Oath Keepers.

      (4)    United States v. Sean Michael McHugh, 21-cr-436, Mr.

McHugh allegedly employed bear spray in direction of officers and yelled

insults at officers. He also allegedly used a megaphone and engaged the

crowd with chant, such as “our house!” There is no evidence he entered the

Capitol building or the Senate floor.

      (5)    United States v. Dale Jeremiah Shalvey, 21-cr-334, Mr.

Shalvey allegedly entered the Senate chamber and is captured on video



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rummaging through Senator Cruz’s notes. However, he is not alleged to be

a part of the Oath Keepers or the Proud Boys.

      As illustrated by these cases, the facts and circumstances of each vary

drastically from each other and make it clear that the government’s charging

decisions are inconsistent. Some cases allege entry into the Capitol building

while others do not. More importantly, the government does not specify

what “influence” these defendants had or how exactly they “impeded.”

With respect to Ms. Williams, she was originally charged via criminal

complaint and indicted in September of 2021. Ms. Williams is alleged to

have entered the Capitol building, but not the Senate chamber, and made

statements similar to many of the other political statements that have been

uttered by several defendants. The inconsistent charging decisions along

with the inherently vague words of the statute, as well as the “residual

clause” that is the basis for charging Ms. Williams all show that 18 U.S.C. §

1512(c)(2) is unconstitutionally vague and does not provide fair notice to

Ms. Williams.




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III.   CONCLUSION

       Based upon the foregoing, it appears that, in its haste to prosecute the

January 6th Capitol protestors with every conceivable violation and to proverbially

“throw the book” at them, the government has taken liberties with the application

of 18 U.S.C. § 1512(c). Indeed, no court has ever interpreted an “official

proceeding,” as that term is used in §1512(c), so broadly as to encompass an event

such as the certification of the Electoral College vote. While the Electoral College

certification is arguably a “federally protected function” and certainly part of the

“official business” of Congress, it clearly was not an evidence-gathering, formal,

judicial or quasi-judicial event contemplated as “official proceeding” under

§1512(c).

       The government has attempted to stretch 18 U.S.C. § 1512(c) well beyond

its plain meaning and beyond the intent of Congress when it was enacted.

Nevertheless, “hard cases cannot be permitted to make bad law.” See Morgan

County v. Allen, 103 U.S. 498 (1880). Count Two as charged in the Indictment

fails to state an offense and should be dismissed. 8



8
 The same or similar arguments have been presented in other cases concerning the events of
January 6th. As of this writing, the undersigned are aware of motions pending in the following
matters, all before the district judges in the District of Columbia, United States v. Grider, 1:21-
cr-22-CKK; United States v. Caldwell and Crowl, 1:21-cr-28-APM; United States v. Reffitt,
1:21-cr-32-DLF; United States v. Montgomery and Knowlton, 1:21-cr-46-RDM; United States v.
Sandlin, 1:21-cr-88-DLF; United States v. Andries, 1:21-cr-93; United States v. Cua, 1:21-cr-
107-RDM; United States v. Miller, 1:21-cr-119-TJN; United States v. Mostofsky, 1:21-cr-138-


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JEB; United States v. Nordean and Biggs, 1:21-cr-175-TJK; United States v. Costianes, 1:21-cr-
180-RJL; United States v. Blair, 1:21-cr-186-CRC; United States v. Puma, 1:21-cr-454-PLF.


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                         CERTIFICATE OF SERVICE

      I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Motion to Dismiss Count Two of the

Indictment for Failure to State an Offense and Memorandum of Law in

Support Thereof via Electronic Case Filing, and/or by placing a copy in the

United States mail, first class in Harrisburg, Pennsylvania, and/or by hand delivery,

addressed to the following:

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